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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., et al.,’ Case No. 14-10979 (CSS)
Debtors. (Jointly Administered)

Hearing Date: To be determined
Objection Deadline: To be determined

ee Ne ee ee ee See ee ee

MOTION OF THE REORGANIZED TCEH DEBTORS FOR ENTRY
OF AN ORDER ENFORCING THE. TCEH CONFIRMATION ORDER AND
IMPOSING COSTS AND FEES FOR THE WILLFUL DISREGARD OF THE SAME

Pursuant to sections 524 and 1141 of the Bankruptcy Code, Articles VULA, VIILD,
VIULF, and XI of the TCEH Plan, and paragraphs 89 and 97 of the TCEH Confirmation Order,
the reorganized debtors formerly known as the TCEH Debtors (collectively, the “Reorganized

TCEH Debtors”) file this motion (“Motion”) for entry of an order, substantially in the form

attached as Exhibit A (the “Order”): (a) enforcing the TCEH Plan injunction and TCEH
Confirmation Order discharge against plaintiff Vance Dotson (“Plaintiff”) regarding the filing

and prosecution of Vance Dotson v. Energy Future Holdings Corp. d/b/a TXU Energy, et al.,

' The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The
location of the Debtors’ service address is 160] Bryan Street, Dallas, Texas 75201. Due to the large
number of debtors in these chapter 11 cases, for which joint administration has been granted, a complete
list of the Debtors and the last four digits of their federal tax identification numbers is not provided
herein. A complete list of such information may.be obtained on the website of the Debtors’ claims and
noticing agent at http://www.ethcaseinfo.com.

; Capitalized terms used but not defined here shall have the meanings ascribed in the Third
Amended Joint Plan of Reorganization of Energy Future Holdings Corp., et al, Pursuant to Chapter 11]
of the Bankruptcy Code, dated August 29, 2016 [D.}. 9421-1] (the “TCEH Plan”) or the Order
Confirming the Third Amended Joint Plan of Reorganization of Energy Future Holdings Corp., et al,
Pursuant to Chapter 1] of the Bankruptcy Code as it Applies to the TCEH Debtors and EFH Shared
Services Debiors, dated August 29, 2016 [D.I. 9241] (the “[TCEH Confirmation Order”), as applicable.

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Case No. CIV-17-575-D in the United States District Court for the Western District of Oklahoma
(the “Action”) and (b) permitting the Reorganized CEH Debtors to recover their actual costs
and attorneys’ fees from Plaintiff in connection with the Action for Plaintiffs willful disregard
of the TCEH Confirmation Order.

In support of the Motion, the Reorganized TCEH Debtors submit the Affidavit of Sidney

Garabato of Epiq Bankruptcy Solutions, LLC (the “Garabato Decl.”), filed contemporaneously

herewith. In further support of the Motion, the Reorganized TCEH Debtors respectfully state as
follows.

Jurisdiction and Venue

L. This Court has jurisdiction to consider and determine this Motion pursuant to
28 U.S.C. § 1334 and the Amended Standing Order of Reference from the United States District
Court for the District of Delaware, dated February 29, 2012; Article XI of the TCEH Plan,
paragraph 89 of the TCEH Confirmation Order; and Travelers Indem. Co. v. Bailey, 557 U.S.
137, 151 (2009) (“[T]he Bankruptcy Court plainly {has] jurisdiction to interpret and enforce its
own prior orders.”).4

2. This is a core proceeding pursuant to, inter alia, 28 U.S.C. § 157(b)(2)(L)>

Given the exigent nature of the Motion, and the attendant time constraints in finalizing and filing
the Motion, the Reorganized TCEH Debtors anticipate filing supplemental affidavit(s) in support of the
Motion as soon as practicable in the coming days,

" The Reorganized TCEH Debtors confirm their consent, pursuant to ruie 7008 of the Federal
Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and rule 9013-1() of the Local Rules of
Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of Delaware
(the “Local Bankruptcy Rules”), to entry of a final order by the Court in connection with this Motion to
the extent that it is later determined that the Court, absent consent of the parties, cannot enter final orders
or judgments in connection herewith consistent with Article III of the United States Constitution.

5 ' . . a
A bankruptcy court’s interpretation and enforcement of an order relating to a core proceeding,
including a confirmation order, is also a core proceeding. See, e.g., Jamaica Shipping Co. Ltd. v. Orient
(Continued...)

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3, Venue is proper before the Bankruptcy Court pursuant to 28 U.S.C. §§ 1408 and
1409.

4, The statutory predicates for the relief sought in this matter are 11 U.S.C. §§ 105,
524(a)(2), 1141(a)-(c), and 1141(d)(1).

Relief Requested

5. By this Motion, the Reorganized TCEH Debtors seek to enjoin Plaintiff from
prosecuting the Action, which arises from prepetition claims that were discharged in the TCEH
Debtors’ chapter 11 cases, Accordingly, the Reorganized TCEH Debtors seek entry of the Order
(a) enforcing the discharge, release, and injunction provisions in the TCEH Plan and TCEH
Confirmation Order, (b) directing Plaintiff to dismiss the Action with prejudice against all
remaining defendants except Experian Information Solutions, Inc. (“Experian”) (which is
unrelated to the Debtors), (c) forever and permanently enjoining Plaintiff from commencing or
continuing any action or otherwise acting to assert any of the claims and/or causes of action
asserted or that could have been asserted against the TCEH Debtors in the Action, and (d)
permitting the Reorganized TCEH Debtors to recover their actual costs and attorneys’ fees from

Plaintiff in connection with the Action, including the prosecution of this Motion.

Shipping Rotterdam, B.V. (In re Millenium Seacarriers, inc.), 458 F.3d 92, 95 (2d Cir, 2006) (citing, inter
alia, Mt. McKinsley ins. Co., fikéa Gibralter Cas. Co. v. Corning Inc., 399 F.3d 436, 449 (2d Cir, 2005);
Tenet Healthsystem Phila, Inc. v. Nat’l Union of Hosp. & Health Care Emp’ees, AFSCME, AFL-CIO,
District 1199C (In re Allegheny Health Educ. & Research Foundation), 383 F.3d 169, 175 Gd Cir, 2004);
In re Land Am. Fin. Grp. Inc., Case No. 08-35994-KRH, slip op. at 5 (Bankr. E.D. Va. Apr. 30, 2013)
(“This Court has core jurisdiction to interpret its Confirmation Order at issue here, and to enforce the
terms of the confirmed Plan.”)}; Jv re Lyondell Chem. Co., 445 B.R. 227, 287 (Bankr. 8.D.N.Y, 2011)
(“[A] bankruptey court retains core jurisdiction to interpret and enforce its own prior orders, including
and especially confirmation orders.”); in re Jones, No. 09-14499, 2011 Bankr. LEXIS 4083, at *1 (Bankr.
E.D. Va. Oct. 21, 2011) (“Bankruptey Courts plainly have jurisdiction to interpret and enforce their own
prior orders.” (citing Travelers, 557 U.S. 137)).

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Background
I. These Chapter 11 Cases
A. Overview

6. On April 29, 2014 (the “Petition Date”), each of the above-captioned debtors and
debtors in possession (the “Debtors”), including TXU Energy Retail Company LLC, filed
voluntary petitions with the Court under the Bankruptoy Code. The Debtors are operating their
businesses and managing their properties as debtors in possession pursuant to sections 1107(a)
and 1108 of the Bankruptcy Code. The Court has entered a final order for joint administration of
these chapter 11 cases [D.1. 849].

7. The Court has not appointed a trustee. The Office of the United States Trustee for
the District of Delaware (the “U.S. Trustee”) formed an official committee of unsecured
creditors of Energy Future Competitive Holdings Company LLC (“EFCH”), Texas Competitive
Electric Holdings Company LLC (“TCEH”), the direct and indirect Debtor subsidiaries of EFCH
and TCEH, and EFH Corporate Services Company on May 13, 2014 [D.I. 420], and an official
committee of unsecured creditors of Energy Future Holdings Corp. (““EFH Corp.”), Energy
Future Intermediate Holding Company, LLC, EFIA Finance, Inc., and EECT, Inc. on October 27,
2014 [D.I. 2570].

8. Further information regarding the Debtors’ business operations and capital
structure is set forth in the declaration of Paul Keglevic in support of the Debtors’ first day
motions [D.I. 98].

B. The TCEH Plan and TCEH Confirmation Order

9. On August 29, 2016, the Bankruptcy Court entered the TCEH Confirmation

Order confirming the TCEH Plan. On October 3, 2016, the TCEH Plan went effective as to

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certain of the Debtors, who became the Reorganized TCEH Debtors (the “Effective Date”).

There has been no final decree closing any of the chapter 11 cases.

10. Paragraph 97 of the TCEH Confirmation Order provides that “[a]ll injunctions or

stays contained in the Plan as it relates to the TCEH Debtors . .

_ ot the TCEH Confirmation

Order shall remain in fuli force and effect in accordance with their terms.”

Ll,

Plan states:

12,

13.

provides:

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Article VILA (“Discharge of Claims and Termination of Interests”) of the TCEH

Pursuant to section 1141 (d) of the Bankruptcy Code... the
distributions, rights, and treatment that are provided in the Plan
shall be in complete satisfaction, discharge, and release, effective
as of the Effective Date, of Claims ... and Causes of Action of
any nature whatsoever . . . regardless of whether any property
shall have been distributed or retained pursuant to the Plan on
account of such Claims and Interests, including demands,
liabilities, and Causes of Action that arose before the Effective
Date ..., in each case whether or not: (1) a Proof of Claim based
upon such debt or right is Filed or deemed Filed pursuant to
section 501 of the Bankruptcy Code; (2) a Claim or Interest based
upon such debt, right, or Interest is Allowed pursuant to section
$02 of the Bankruptcy Code; or (3) the Holder of such a Claim or
Interest has accepted the Plan... . The Confirmation Order shall
be a judicial determination of the discharge of all Claims and
Interests subject to the Effective Date occurring.

Article VIILF (“Injunction”) of the TCEH Plan states:

[A]ll Entities that have held, hold, or may hold Claims or Interests
that have been released pursuant to... Article VIII.D of the Plan,
. .. are permanently enjoined, from and after the Effective Date,
from taking any of the following actions against, as applicable, the
Debtors, the Reorganized Debtors, or the Released Parties: (i)
commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with
respect to any such claims or interests... .

Article VIILD (“Releases by Holders of Claims and Interests”) of the Plan
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As of the Effective Date, each Releasing Party is deemed to have
released and discharged each Debtor, Reorganized Debtor, and
Released Party from any and all... Claims and Causes of Action,
whether known or unknown, ... based on or relating to, or in any
manner arising from, in whole or in part, the Debtors (including
the management, ownership or. operation thereof}, .. . or upon any
other act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date related or
relating to the foregoing.

14. Article 1.334 of the Plan defines “Releasing Parties” to include all holders of a
“claim’-—as defined by section 101(5) of the Bankruptcy Code—-against the Debtors.
15. Article 1.333 of the Plan defines “Released Parties” to include:

[W]ith respect to each of the Debtors, the Reorganized Debtors ...
such Entity and its current and former Affiliates, and such Entities’
and their current and former Affiliates’ current and former
directors, managers, officers, equity holders (regardless of whether
such interests are held directly or indirectly), predecessors,
successors, and assigns, subsidiaries, and each of their respective
current and former equity holders, officers, directors, managers,
principals, members, employees, agents, advisory board members,
financial advisors, partners, attorneys, accountants, investment
bankers, consultants, representatives, and other professionals, each
in their capacity as such.

16. Paragraph 89 of the TCEH Confirmation Order and Article XI of the TCEH Plan
erant the Bankruptcy Court the exclusive jurisdiction to interpret and enforce the TCKH
Confirmation Order and the TCEH Plan.

Il. Plaintiff and These Chapter 11 Cases
A. Plaintiff's Pre-Petition Conduct

17. Based on the Debtors’ books and records, Plaintiff was a customer during the

prepetition period.

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18. On January 23, 2013, TXU Energy sent a letter to Plaintiff, informing him that he
owed an outstanding balance of $107.85. See Ex. 1, M. Thompson Letter to B. Ponder (June 26,
2017) at Exhibit A.6 The letter also notified Plaintiff that if he failed to make payment
arrangements within 10 days, TXU Energy could “report [his] account to one or more credit
bureaus to make it part of fhis] credit record where it may impact [his] ability to obtain credit.”
The letter referenced a customer account number ending in KXXXXX573928.7
19. Based on the Debtors’ books and records, TXU Energy reported Plaintiffs debt to
the credit bureaus on April 24, 2013.
20. On February 5, 2014—nearly three months before the Petition Date—Plaintiff
faxed a letter to TXU Energy, stating:
“TY Jour firm has violated the law (including but not limited to)...
the Fait Credit Reporting Act... . You have communicated and
are continuing to communicate incorrect and defamatory
information to third parties, including, but not limited to, Equifax,
Experian, and TransUnion.”
Plaintiff's letter referenced the same customer account number (XXXXXX573928) that was
referenced in the Debtors’ January 23, 2013 letter. See Ex. 1, M. Thompson Letter to B. Ponder
(June 26, 2017) at Exhibit B.

21, Further, on information and belief, Plaintiff filed a direct dispute with the credit

bureaus on or about April 21, 2014—again, before the Petition Date.

° Exhibits referenced herein are attached to the Declaration of Bryan M. Stephany, Esq. in
Support of the Motion of the Reorganized TCEH Debtors for Entry of an Order Enforcing the TCEH
Confirmation Order and Imposing Costs and Fees for the Willful Disregard of the Same, filed
contemporaneously herewith.

7 ' ' *
Out of an abundance of caution, the Reorganized TCEH Debtors have redacted the first six
digits of Plaintiff's customer account number, as well as address information, in Exhibit 1 to the Stephany
Declaration,

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22. Accordingly, Plaintiff's Fair Credit Reporting Act claim—for the same debt at
issue in the complaint—arose prepetition.

B. The Customer Bar Date

23. On the Petition Date, the Debtors filed the Motion of Energy Future Holdings
Corp., et al., for Entry of (A) An Order Authorizing the Debtors to (I) Maintain and Administer
Customer Programs and Customer Agreements, (I) Honor Prepetition Obligations Related
Thereto, (TII) Pay Certain Expenses on Behalf of Certain Organizations, (IV) Fix the Deadline to
File Proofs of Claim for Certain Customer Claims, and (V) Establish Procedures for Notifying
Customers of Commencement of the Debtors Chapter 11 Cases, Assumption of Customer
Agreement, and the Bar Date for Customer Claims and (B) An Order Authorizing Certain of the

Debtors to Assume the Customer Agreements (the “Customer Programs Motion”).

24, Pursuant to the Customer Programs Motion, the Debtors sought, among other
things, to fix a bar date of October 27, 2014 at 5:00 p.m. (prevailing Eastern Time) (the

“Customer Bar Date”) for filing proofs of claim for any customer against any Debtor and to

establish noticing procedures to provide notice to current and former customers of
commencement of the Chapter 11 Cases.

25. On May 2, 2014, the Bankruptcy Court set the Customer Bar Date and approved
the noticing procedures with respect to the Customer Bar Date [D.I. 307],

26. Plaintiff received actual notice of the Customer Bar Date at a location that
matches an address on Plaintiff's February 5, 2014 letter. See Garabato Aff. at 9 4. Service was
not returned undeliverable. See id Plaintiff did not file a proof of claim in these chapter 11

cases. See id. at 75.

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IH. Plaintiff's Action

27. On May 19, 2017, Plaintiff filed the Action in the United States District Court for

the Western District of Oklahoma (the “Oklahoma District Court’) against sixteen defendants:

Experian, EFH Corp., and fifteen entities that were TCEH Debtors or predecessors and affiliates
of the TCEH Debtors. See Ex. 2, Complaint, dated May 19, 2017 (W.D. Okla. Case No. CIV-
17-575-D, D.L 1). As detailed in paragraph 36 below, many of the non-Experian defendants are
inactive entities, including some that were inactive long before the Petition Date.

28. Plaintiff alleged that on May 5, 2016, he “discovered” and “observed” a debt of
$107 from TXU Energy that “is likely the result of identity theft because Mr. Dotson has never
done business with TXU Energy Defendants.’® See Ex. 2, Complaint at (J 8,9. Plaintiff sought
relief under the Fair Credit Reporting Act, which provides, under certain circumstances, a private
right of action against a person that furnishes information to credit rating agencies.

29. The prepetition correspondence summarized above raises serious questions about
the inquiry into the evidentiary support for the factual allegations in the Complaint. The
matching references to a $107 charge in the Complaint and TXU Energy’s January 23, 2013
fetter—and the matching account numbers in that letter and Plaintiff's February 5, 2014 letter—
clearly demonstrate that Plaintiff's allegations arose from prepetition conduct.

30. On June 21, 2017, the Reorganized TCEH Debtors filed a notice of suggestion of
bankruptcy in the Oklahoma District Court. See Ex. 3, Notice of (I) Suggestion of Pendency of
Bankruptcy for Energy Future Holdings Corp., et al. and Automatic Stay of These Proceedings,

(11) Confirmation Order and Injunction, and (IID) Exclusive Jurisdiction of Bankruptcy Court to

;
Plaintiff defined “TXU Energy Defendants” to include all non-Experian defendants, including
EFH Corp.

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Interpret and Enforce the Confirmation Order, dated June 21, 2017 (W.D. Okla. Case No. CIV-
17-575-D, DI. 11). The notice identified TCEH Plan and TCEH Confirmation Order provisions
excerpted in Part 1(B) above (except Art. VIII.A of the TCEH Pian) and attached the chapter 1]
petition of EFH Corp., the TCEH Confirmation Order, and the TCEH Plan.

31. On June 22, 2017, Plaintiff filed a response to the notice. See Ex. 4, Response to
Notice [11] Filed by Defendant Energy Future Holdings Corp. (W.D. Okla. Case No. CIV-17-
575-D, D.I. 12) (the “Response”). Plaintiff stated, among other things, that “Dotson’s instant
action is not one which could have been commenced before EFH’s commencement of its case
chapter 11 of title 11 of the United States Code.” See id Plaintiff relied solely on his
unsubstantiated allegations in the complaint. _

32. On June 27, 2017, Plaintiff voluntarily dismissed EFH Corp., TXU Energy Retail
Company LLC, and TXU Energy Solutions Company LLC from the Action, See Ex. 5, Notice of
Voluntary Dismissal (W.D., Okla. Case No. CIV-17-575-D, D.I. 14). As a result of Plaintiff's
dismissal of EFH Corp., issues concerning the automatic stay applicable to EFH Corp. became
moot. (The EFH/EFIH Debtors are not participating in this Motion.)

33. On June 30, 2017, Plaintiff filed a motion with the Clerk of the Okljahoma District
Court, requesting entry of default against TXU Energy Solutions Management Company LLC,
TXU Energy Industries Company, and TXU Energy Services Company LLC. Ex. 6, Motion for
Entry of Default (W.D. Okla. Case No. CIV-17-575-D, D.1. 15).

34. On September 19, 2017, the Oklahoma District Court entered an order
concluding, “as alleged by Plaintiff, ... the TXU Energy Defendants’ conduct giving rise to
Plaintiff's claim occurred postpetition.... As such, Plaintiffs claim is not subject to the

automatic stay.” Ex. 7, Order at 4. The Oklahoma District Court did not make any evidentiary

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findings. The Oklahoma District Court did not address the discharge and injunction provisions
in the TCEH Plan and TCEH Confirmation Order, which are separate and apart from the
automatic stay issue.

35. On September 21, 2017, the three defendants against which Plaintiff sought entry
of default—TXU Energy Solutions Management Company LLC, TXU Energy Industries
Company, and TXU Energy Services Company LLC—filed a motion for leave to object to the
motion for entry of default. See Ex. 8, Amended Motion for Leave to File Objection to Entry of
Default and Brief in Support (W.D, Okla. Case No. CIV-17-575-D, D.I. 24). Those defendants
noted they had “made a good-faith determination to refrain from filing any responsive pleading
for reasons including, but not limited to, concerns regarding potential confusion about the court
of proper jurisdiction over certain matters.” Jd. at { 6.

36. The status of the following non-Experian defendants in the Action is summarized

below. All three defendants against whom Plaintiff moved for entry of a default are predecessors

to the three entities that Plaintiff dismissed.

Energy Future Holdings Corp. Debtor.
TXU Energy Retail Company LLC Reorganized TCEH Debtor.

TXU Energy Solutions Company LLC ' | Former Debtor. Merged into TXU Energy

. | Retail Company LLC in 2016. Plaintiff
dismissed TXU Energy Retail Company LLC
June 27, 2017

“TXU Energy Industries Company Merged into EFH Corp. in 2003. Plaintiff

dismissed EFH Corp. on June 27, 2017,

TXU Energy Services Company LLC Merged into TXU Energy Retail Company LP
in 2001. TXU Energy Retail Company LP is
not an active entity and is the former name of
TXU Energy Retail Company LLC, which
Plaintiff dismissed on June 27, 2017,

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Company LLC

Energy Tra ne (Canada) Company

TXU Energy Solutions Management Merged into TXU Energy Solutions Company

LLC in 2007. Plaintiff dismissed TXU Energy
Solutions Company LLC on June 27, 2017.

Dissolved in 2004.

TXU Portfolio Management Company LP

Converted to Luminant Energy Company LLC
in 2007.

TXU Portfolio Optimization Company LLC

Merged into Luminant Holding Company LLC
in 2007.

TXU Energy Gas Asset Management Dissolved in 2004.
Company
TXU Energy Holdings Company Dissolved in 2007.

TXU Energy Retail Company LP

Former name of TXU Energy Retaii Company
LLC.

LLC

TXU Energy Retail Management Company

Dissolved in 2010.

TXU Energy Services Company

Merged into TXU Transition Energy Services
Company LLC in 2001.

TXU Energy Solutions Company LP

Merged into TXU Energy Retail Company
LLC in 2016.

IV. The Reorganized TCEH Debtors’ Good-Faith Efforts to Inform Plaintiff's Counsel

37. The Reorganized TCEH Debtors worked in good-faith to inform Plaintiff's

counsel of the procedural roadblocks to the Action and to avoid burdening the Court with this

issue,

38. On June 19, 2017, Debtors’ counsel sent a letter to Plaintiff's counsei about the

Action. See Ex. 9, M. Thompson Letter to B. Ponder (June 19, 2017). The letter stated:

Based on the Debtors’ preliminary review of their books and
records, the Lawsuit is an attempt to recover a claim against the
Debtors that arose before the Petition Date. Regardless, Plaintiff
alleges the cause of action arose on May 5, 2016—before the
Confirmation Order and the Effective Date. Accordingly, your
attempt to pursue the Lawsuit as to the Reorganized TCEH
Debtors violates the injunction in the Plan and the Confirmation
Order and multiple provisions of the Bankruptcy Code. As to
EFH, the Lawsuit is subject to the automatic stay.

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The letter also provided information about the provisions of the TCEH Plan, TCEH
Confirmation Order, and Bankruptcy Code provisions that the Action violates. The TCEH
Debtors noted that they reserved the right to pursue remedies for any violations of the
Bankruptcy Code, the TCEH Confirmation Order, and the TCEH Plan, and any costs regarding
the same.

39, That same day, Plaintiff's counsel requested—and Debtors’ counsel agreed to—a
phone call to discuss the matter. During the call, Debtors’ counsel reiterated the position set
forth in the June 19, 2017 letter.

40, On June 23, 2017, Debtors’ counsel sent another letter to Plaintiffs counsel,
sharing the Debtors’ position that Plaintiff's June 22, 2017 Response “demonstrates a complete
disregard by you and your client of the Bankruptcy Code and the Confirmation Order—despite
our good-faith effort to notify you of the same before taking protective action.” See Ex. 10, M.
Thompson Letter to B. Ponder June 23, 2017). Debtors’ counsel reiterated that the Reorganized
TCEH Debtors would pursue remedies in the Bankruptcy Court, including the recovery of costs,
unless Plaintiff dismissed the Action with prejudice.

41. Later that day, at the request of Plaintiff’s counsel, the parties held another call to
discuss the matter.

42, On June 26, 2017, the Debtors’ counsel sent a third ietter to Plaintiffs counsel.
See Ex. 1, M. Thompson Letter to B. Ponder (June 26, 2017). The letter attached and
summarized some of the prepetition correspondence between Plaintiff and TXU Energy that
demonstrate Plaintiff couid have brought his Fair Credit Reporting Act claims before the Petition

Date. The Reorganized TCEH Debtors warned Plaintiff—for a third time-—that they would

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pursue remedies in the Bankruptcy Court, including the recovery of costs, unless Plaintiff
dismissed the Action with prejudice.

43. On September 20, 2017—following the automatic stay order by the Oklahoma
District Court-—Debtors’ counsel again called Plaintiffs counsel and stated that the Reorganized
TCEH Debtors planned to file the Motion.

ARGUMENT

1. Plaintiff Knowingly Continues to Pursue the Action Despite Notice that it Violates
the Discharge and Injunction.

A. Consummation of the TCEH Plan Discharged All Pre-Effective Date Claims
Against the Reorganized TCEH Debtors and their Predecessors.

44, It is well-settled that consummation of a confirmed chapter 11 plan discharges
any and all debts of the debtor that arose prior to the effective date of the plan in accordance with
the provisions of the plan and the Bankruptcy Code. 11 U.S.C. § 1141(d)(1). Sections 1141 (a)-
(c) and (d)(1) of the Bankruptcy Code provide, in relevant part:

(a) [T]he provisions of a confirmed plan bind... any creditor...
whether or not the claim... of such creditor... is impaired under
the plan and whether or not such creditor . . . has accepted the plan.

(b) Except as otherwise provided in the plan or the order
confirming the plan, the confirmation of a plan vests all of the
property of the estate in the debtor.

(c) [E]xcept as otherwise provided in the plan or in the order
confirming the plan, after confirmation of a plan, the property dealt
with by the plan is free and clear of all claims and interests of
creditors...

(d)(1) Except as otherwise provided in this subsection, in the plan,
or in the order confirming the plan, the confirmation of a plan—

(A) discharges the debtor from any debt that arose before
the date of such confirmation, ,.. whether or not—

(i) a proof of the claim based on such debt is filed or
deemed filed under section 501 of this title... .

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11 U.S.C. 88 114 1fa)-(c) and (d)(1)(A)G).

45, This Court confirmed the TCEH Plan on August 29, 2016, and it became effective
on October 3, 2016.9 Pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all property
of the bankruptcy estate vested in the Reorganized TCEH Debtors, “free and clear of all claims
and interests of creditors,” including the claims asserted by Plaintiff in the Action. See 11 U.S.C.
§ 1141(c) (emphasis added). Moreover, pursuant to section 1141(d)(1) of the Bankruptcy Code,
all “debts”! of the Reorganized TCEH Debtors that arose prior to the TCEH Confirmation Date
(i.e., August 29, 2016) were discharged whether or not a proof of claim based on such debt was
filed.

46. Section 524(a) of the Bankruptcy Code provides the statutory authority for the
discharge of the Reorganized TCEH Debtors, It operates as a permanent injunction against the
commencement or continuation of any action to recover or offset any discharged claim against
them. Specifically, section 524(a)(2) of the Bankruptcy Code provides:

(a) A discharge in a case under this title —

* * *

(2) operates as an injuriction against the commencement or
continuation of an action, the employment of process, or an
act, to collect, recover or offset any such debt as a personal
liability of the debtor, whether or not discharge of such
debt is waived....

11 U.S.C. § 524(a)(2).

9
See Notice of Entry of TCEH Confirmation Order and Occurrence of TCEH Effective Date (D.1.
9742]. ,

10
The Bankruptcy Code defines “debt” as “liability on acclaim.” 11 U.S.C, § 101(12).

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47, The legislative history of section 524 of the Bankruptcy Code leaves no question
about the finality and sweeping and “complete effect” of the discharge and permanent injunction:
Section 524(a) “is intended to insure that once a debt is discharged, the debtor will not be
pressured in any way to repay it. In effect, the discharge extinguishes the debt, and creditors
may not attempt to avoid that.” H.R. Rep. 595, 95th Cong., Ist Sess. 365-66 (1977); S. Rep. No,
989, 95th Cong., 2d Sess. 80 (1978).

Ag, Consistent with section 524(a)(2) of the Bankruptcy Code, the TCEH Plan and
TCEH Side Confirmation Order contain a discharge of all pre-effective Date claims and a
permanent injunction forever restraining the pursuit of discharged claims against the Debtors.
Paragraph 97 of the TCEH Confirmation Order provides that “fa]ll injunctions or stays contained
in the Plan as it relates to the TCEH Debtors . . . or the TCEH Confirmation Order shall remain
in full force and effect in accordance with their terms.”

49, Article VIILA (“Discharge of Claims and Termination of Interests”) of the TCEH
Plan states:

Pursuant to section 1141 (d)} of the Bankruptcy Code... the
distributions, rights, and treatment that are provided in the Plan
shall be in complete satisfaction, discharge, and release, effective
as of the Effective Date, of Claims... and Causes of Action of any
nature whatsoever .. . regardless of whether any property shall
have been distributed or retained pursuant to the Plan on account
of such Claims and Interests, including demands, liabilities, and
Causes of Action that arose before the Effective Date... , in each
case whether or not: (1) a Proof of Claim based upon such debt or
tight is Filed or deemed Filed pursuant to section 501 of the
Bankruptcy Code; (2) a Claim or Interest based upon such debt,
right, or Interest is Allowed pursuant to section 502 of the
Bankruptcy Code; or (3) the Holder of such a Claim or Interest has
accepted the Plan... . The Confirmation Order shall be a judicial
determination of the discharge of all Claims and Interests subject
to the Effective Date occurring.

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50. Article VIILF of the TCEH Plan (“Injunction”) provides:

{A]li Entities that have held, hold, or may hold Claims or Interests
that have been released pursuant to... Article VIILD of the Plan, .

. are permanently enjoined, from and after the Effective Date,
from taking any of the following actions against, as applicable, the
Debtors, the Reorganized Debtors, or the Released Parties: (1)
commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with
respect to any such claims or interests... ..

51. Article VIII.D of the TCEH Plan (“Releases by Holders of Claims and Interests”)
provides:

As of the Effective Date, each Releasing Party is deemed to have
released and discharged each, Debtor, Reorganized Debtor, and
Released Party from any and all... Claims and Causes of Action,
whether known or unknown, .. . based on or relating to, or in any
manner arising from, in whole or in part, the Debtors (including
the management, ownership or operation thereof), . .. or upon any
other act or omission, transaction, agreement, event, or other
occutrence taking place on or before the Effective Date related or
relating to the foregoing.

52. Article 1.334 of the TCEH Plan defines “Releasing Parties” to include all holders
of a “claim”—as defined by section 101(5) of the Bankruptcy Code—against the Debtors.
53, Article 1.333 of the TCEH Plan defines “Released Parties” broadly and to include:

[W]ith respect to each of the Debtors, the Reorganized Debtors...
such Entity and its current and former Affiliates, and such Entities’
and their current and former Affiliates’ current and former
directors, managers, officers, equity holders (regardless of whether
such interests are heid directly or indirectly), predecessors,
successors, and assigns, subsidiaries, and each of their respective
current and former equity holders, officers, directors, managers,
principals, members, employees, agents, advisory board members,
financial advisors, partners, attorneys, accountants, investment
bankers, consultants, representatives, and other professionals, each
in their capacity as such.

54. _ Based on a review of their books and records, all Debtor-defendants other than

EFH Corp., which Plaintiff dismissed, are current and former affiliates or predecessors of the

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Reorganized TCEH Debtors. Thus, all remaining defendants to Plaintiff's Action are “Released
Parties” as defined by the TCEH Plan.

55. Accordingly, pursuant to the Bankruptcy Code, the TCEH Confirmation Order,
and the TCFH Plan, all claims asserted by Plaintiff against the Debtors that arose prior to the
October 3, 2016 Effective Date were discharged, and Plaintiff is permanently enjoined from
prosecuting such claims.

B. The Action Asserts Claims that Were Discharged in the TCEH Debtors’
Chapter 11 Cases.

56. As demonstrated above, ail pre-Effective Date “claims” against the Reorganized
TCEH Debtors were discharged. The Bankruptcy Code defines “claim” broadly in section
101(5\(A) as a “right to payment” against a debtor whether or not contingent, unmatured, or
unliquidated at the time of the bankruptcy case. 11 U.S.C. § 101(5).

57. The legislative history of the Bankruptcy Code underscores Congressional intent
to broadly define “claim” to afford a debtor the “broadest possible relief’ under the Bankruptcy
Code: “[TJhe bill contemplates that all legal obligations of the debtor, no matter how remote or
contingent, will be able to be dealt with in the bankruptcy case.” H.R. Rep. No. 595, 95th Cong.,
1st Sess, 309 (1977), reprinted in 1978 U.S. Code Cong. & Admin. News 5787, 5807-08.

58. Based on the foregoing, courts overwhelmingly have recognized and given effect
to the broad scope of the Bankruptcy Code’s definition of “claim.” Ohio v. Kovacs, 469 U.S.
274, 279 (1985) (“[I]t is apparent that Congress desired a broad definition of a ‘claim’ and knew
how to limit fits} application[.]”); Ja re Continental Airlines, 125 F.3d 120, 132 (3d Cir. 1997)
(“The term ‘claim’ as defined in the bankruptcy code is construed broadly to permit debtors to
meet all of their legal obligations in bankruptcy and to enable holders of claims to participate in
the bankruptcy proceedings.”).

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59. A claim arises “when an individual is exposed pre-petition to... conduct giving
rise to an injury, which underlies a ‘right to payment’ under the Bankruptcy Code.” JELD-WEN,
Inc. vy. Van Brunt (In re Grossman's Inc.), 607 F.3d 114, 125 (3d Cir. 2010); see also in re
Chateaugay Corp., 112 B.R. 513, 520 (S.D.N.Y. 1990) (claim arises “‘at the time when acts
giving rise to the alleged liability are performed’”), aff'd, 944 F.2d 997 (2d Cir. 1991) (quoting
In re Johns-Manville Corp., 57 B.R. 680, 689 (Bankr. S.D.N.Y. 1986)). This is consistent with
Congressional intent to define “claim” broadly in the Bankruptcy Code so that practicaily all
claims against the debtor can be dealt with in the bankruptcy case. Jn re Mazzeo, 131 F.3d 295,
302 (2d Cir. 1997) (“In sum, by defining ‘claim’ so broadly and by defining ‘debt’ in terms of
‘claim,’ Congress has ‘adopt[ed] the ‘broadest possible’ definition of ‘debt.’”) (citations
omitted).

60. Plaintiff's own prepetition correspondence demonstrates that his claim arises from
prepetition conduct. See Ex. 1, M. Thompson Letter to B. Ponder (June 26, 2017) at Exhibit A
and B. While the Reorganized TCEH Debtors firmly believe those documents are dispositive,
even assuming arguendo that Plaintiff's claim arose postpetition, such claims still arose before
the Effective Date, See Ex. 2, Complaint at {4 8, 9 (alleging that on May 5, 2016, he
“discovered” and “observed” a debt of $107 from TXU Energy). Accordingly, Plaintiffs claims
relate to conduct that occurred prior to the Petition Date—or, at the very least, the Effective
Date—and, thus, were discharged by operation of the TCEH Confirmation Order and applicable
bankruptcy law.

61. In light of Plaintiff's own refusal to abide by this Court’s TCEH Confirmation

Order, any further litigation of the Action may cause or encourage others to file actions in venues

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other than this Court, creating unnecessary confusion and added interference with these chapter
11 cases.

62. Indeed, Plaintiff bills himself as the “Credit Doctor” and may attempt to bring
similar litigations, including on behalf of others. See Vance The Credit Doctor,
http://www.vancethecreditdoctor.com (last visited on Sept. 22, 2017). Plaintiff “has been a
consumer advocate since 2004” and “is focused on helping consumers throughout the country
with consumer protection laws mainly dealing with the Fair Credit Reporting Act.” See Vance
The Credit Doctor - Meet Our Team, http://www.vancethecreditdoctor.com/about.php (last
visited on Sept. 22, 2017) (emphasis added). In short, if the relief requested herein is not
granted, other parties may also decide to institute improper actions against the Reorganized
TCEH Debtors outside of this Court’s jurisdiction.

C. Plaintiff Had Actual Notice of the Debtors’ Chapter 11 Cases and is Bound
by the TCEH Confirmation Order.

63. The chapter 11 filing of the TCEH Debtors received significant regional and
national media attention, See, e.g., James Osborne, Energy Future files for bankruptcy, company
splitting up, Dallas News (Apr. 29, 2014),
https://www.dallasnews.com/business/business/20 1 4/04/29/energy-future-files-for-bankruptcy-
company-splitting-up; Mike Spector, Emily Glazer & Rebecca Smith, Energy Future Holdings
Files for Bankruptcy, Wall St. J. (Apr. 29, 2014), https://www.wsj.com/articles/energy-future-
holdings-files-for-chapter-11-bankruptcy-1398767452, Simultaneously, the Debtors invested in
significant outreach efforts to their retail customers, providing notice to more than 3.5 million
customers shortly after the Petition Date. See Garabato Aff. at { 4.

64, The Debtors provided actual notice of the Customer Bar Date to Plaintiff at a

location that matches an address on Plaintiff's February 5, 2014 letter. See id. Service was not

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returned undeliverable. See id. Therefore, Plaintiff was on notice that, to preserve any purported
claim, he had to file a proof of claim prior to the Customer Bar Date on October 27, 2014. Fed.
R. Bankr. P, 3003(c)(2). Moreover, a putative claimholder with actual knowledge of a chapter
11 case has a duty to investigate the proceedings to determine whether its rights are implicated.
See, e.g., In re Christopher, 28 F.2d 512, 518 (5th Cir. 1994) (“We have concluded that it does
not offend due process to view actual notice of a debtor’s bankruptcy to a prepetition creditor as
placing a burden on the creditor to come forward with his claim.”); Jn re Sam, 894 F.2d 778,
781-82 (Sth Cir. 1990) (“When [appellant] received the Notice of Automatic Stay eighteen days
prior to the bar date, he was on notice that his . . . claim against [the debtor] was affected by |the
debtor’s] bankruptcy, and he had eighteen days to inquire as to the bar date and file his complaint
ot a motion to extend the bar date. Thus, [appellant] had the ‘actual knowledge of the case’
necessary to permit him to take steps to protect his rights. Such notice is all that is required . . .
2),

65. Plaintiff did not file any proof of claim in these chapter 11 cases, let alone a
timely filed claim. See Garabato Aff. at 9 5. Therefore, Plaintiff is now enjoined from
prosecuting the prepetition claims underlying the Action against the Reorganized TCEH Debtors.

Il. Section 105(a) of the Bankruptcy Code Permits This Court to Require Plaintiff to
Pay the Reorganized TCEH Debtors’ Costs and Fees.

66. “A bankruptcy court has the inherent power, under [section 105 of the Bankruptcy
Code], to hold parties in civil contempt for violation of its orders.” In re Masterwear Corp., 229
B.R. 301, 310 (Bankr. S.D.N.Y. 1999) (citing Zn re lonosphere Clubs, Inc., 171 B.R. 18, 21
(Bankr. 8.D.N.Y 1992). To hold a party in contempt, “the movant must show (1) that the order
not complied with is clear and unambiguous, (2) the proof of the noncompliance is clear and
convincing, and (3) the contemnor has not diligently attempted to comply in a reasonable

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manner,” In re Masterwear Corp., 229 B.R. at 310 (citing King v. Allied Vision, Ltd., 65 F.3d
1051, 1058 (2d Cir, 1995)).

67. Recovery of costs is one method of redress. See, ¢.g., In re Ritchey, 512 B.R.
847, 872 (Bankr, S.D. Tex. 2014) (“The Court concludes that the Debtors are entitled to recover
$13,431.69—representing $1,373.10 for actual damages, $11,209.00 of their requested fees, and
$849.59 of their requested expenses——as a form of sanctions for Ductwork’s violation of the
Discharge Order.”)

68. Plaintiff's continued prosecution of the Action despite full knowledge of this
Court’s TCEH Confirmation Order—and being repeatedly informed that Plaintiffs actions
violate federal law and a federal court order—warrants an order requiring Plaintiff to pay the
actual costs and attorneys’ fees incurred by the Reorganized TCEH Debtors in connection with
the Action.

69. First, the application of the TCEH Confirmation Order cannot be clearer. It
granted the Reorganized TCEH Debtors and their predecessors a broad injunction against all pre-
Effective Date causes of action. Plaintiffs’ own prepetition correspondence shows his claim
regarding the $107 outstanding balance arose before the Petition Date, let alone the Effective
Date. See Ex. 1,M. Thompson Letter to B. Ponder (June 26, 2017) at Exhibit A and Exhibit B.

70. Second, Plaintiff has clearly and convincingly ignored this Court’s order.
Debtors’ counsel notified Plaintiff's counsel at least six times that the Action violated the
Bankruptcy Code and the TCEH Confirmation Order.

71. Third, Plaintiff has not attempted—much less, diligently attempted—to comply
with either the Bankruptcy Code or the TCEH Confirmation Order. Plaintiff has repeatedly

ignored requests to dismiss the Action and has given no indication that he intends to do so. In

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fact, on September 20, 2017, Plaintiff renewed his motion for entry of a default by emailing a
proposed order to the Oklahoma District Court directly.

72. Accordingly, this Court should permit the Reorganized TCEH Debtors to recover
their actual costs and attorneys’ fees from Plaintiff in connection with the Action and the
prosecution of this Motion. In addition to compensating them for defending against this
frivolous litigation, such an order will serve as an important reminder and deterrent to those, like
Plaintiff, who seek to flaunt this Court’s orders.

Notice

73. The Reorganized TCEH Debtors shall provide notice of this Motion on the date
hereof via overnight delivery to: (a) the U.S. Trustee; (b) Plaintiff (and counsel to Plaintiff); and
(c) those parties that have requested notice in the Chapter 11 Cases pursuant to Bankruptcy Rule
2002 and Local Rule 2002-i(b). The Reorganized TCEH Debtors submit that, in light of the
nature of the relief requested, no other or further notice need be given.

74. The Reorganized TCEH Debtors anticipate providing the Oklahoma District

Court with a copy of this Motion.

Prior Request

75. No prior request for the relief sought herein has been made to this or any other
court.

Conclusion

The Reorganized TCEH Debtors respectfully request that the Court enter the Order,
substantially in the form attached hereto as Exhibit A, granting the relief requested in this

Motion and such other and further relief as 1s appropriate under the circumstances.

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Dated: September 22, 2017
Wilmington, Delaware

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